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UN|TED STATES BANKRUPTCY COURT
SOU'J'HERN D[S?RICT OF FLOR|DA
FOR`¥' LAUDERDALE DlVlSlON

|n Re:
Case Nc. 18-24646-RBR
Michae| Pagano

Debtor.
l

TRUSTE_E’S APPL|CAT|ON TO EMPLOY REALTOR ASHLEY FRANCH|NE
OF SOl_,_E__|L SOTHE_BYS lNT§RNATtONAL REALTY TO LlST AND MARKET
RES|DENT|AL REAL PROPERTY FOR SALE NUNC PRO TUNC TO
FEBRUARY 18, 2019, AND TO APPROVE LlSTlNG AGREEMENT
FOR SALE OF RES|DENT!AL REAL PROPERTY

The Trustee, Chad S. Paiva, files this App|icatton to Ernptoy Ashley Franchint cf
Soleit Sotheby’s international Reatty to List and Market Residentiat Reai Property for
Sale Nunc Pro Tunc to February 18, 2019, and to Approve t_isting Agreement for Saie
of Residential Real Property, pursuant to 11 U.S.C. §327 and F.R.B.P. 2014(a), and in
support thereof states:

1. Chad S. Paiva is the duly qualified and acting Chapter 7 Trustee of the
bankruptcy estate of the Debtor, Michael Pagano.

2. The Debtor is the sote owner of non-exempt residential real property and
improvements Eocated at 31 Seaside Court, Margate, NJ 08402 (“Reat Property"). A
true and correct copy of the current deed of ownership containing the legat description
for the Reat Property is attached hereto as Exhibtt “".A

3. The Reai Property is property of the estate pursuant to 11 U.S.C. §541(3).

4. The Applicant seeks to sell the Rea! Property for the benefit of the estate,
and seeks to employ reattor Ashiey Franchini of Soteil Sotheby’s international Rea|ty,
8502 Ventnor Ave., |V|argate Ctty, FL 08402 (hereinafter referred to as "Local Listing

Broker”) to list and market the Reai Property for sale.

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5. The trustee believes that the highest and best value for the Reai Property
will be generated through a sale in which the Reai Property is widely marketed to the
public and offered at the highest price that thea market wiii hear, and further beiieves that
the en'rpioyrnent of Locai Listing Agent is in the best interest of the bankruptcy estate to
seii the Property for the highest and best price.

6. Based on the Trustee's independent research and recommendation ot the
BK Giobai Reai Estate Services., the entity that wiii be facilitating the short sale on
behalf ct the tender, Mr. Cooper tlk/a/ t\iationstar i\/iortgageF the Trustee beiieves that
the Locai Listing Agent is experienced in the marketing and sale of residentiai real
property in the iViargate, NJ area.

7. The Locat Listing Broker has agreed to market and show the Reai
Property to prospective purchasers and otherwise represent the estate as seii in the
sale of the Reai F’roperty.

8. The Trustee seeks to ernpioy the Locai Listing Broker to market and Seii
the Reai Property through Septernber 30, 2019.

9. The Trustee is satisfied from the affidavit attached hereto as Exhibit “B”
that the i_ocal Listing Broker is disinterested as required by 11 U.S.C. §10‘¥(14).

‘iO. A copy of the proposed listing agreement for the Reai Property is attached
hereto as “”.C The proposed initiai listing price set forth in the iisting agreement is
$649,900.00. The listing agreement further provides that (i) the total commission to be
paid is 6% with a total of 4% to be paid to the Loca| Listing Broker and any participating
realtor and 2% to be paid to BK Giobal, inc., (ii) that the retention ot the Locai Listing
Agent, listing agreement1 and contract for sale is subject to bankruptcy court approvai,
(iii) except for warranty of titie which may be contingent upon the non~debtor spouse
executing a deed of transfer as required by New Jersey iaW, the sale of the Reai

H ll

Property is “as is , where is”, and without warranty or representation either express or

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implied; (iv) the sale is conditioned upon the non-debtor spouse executing any
documents of transfer as may be required under New Jersey iaw, and (v) any sate of
the Reai Property is conditioned upon the approval ct the mortgage iender, iVir. Cooper
flk/a Nationstar Nlortgage, since the saie wiii be a short saie.

11, Based on the foregoing, the Trustee requests that the Court approve the
empioyrnent the Locai Listing Reaitor, and approve the proposed listing agreement for
the marketing and sale ot the Reai Property.

WHEREFORE, the Trustee, Chad S. Paiva, pursuant to 11 U.S.C. §327
respectfuily request that the Court enter an Order granting the foiiowing reiief:

a. Approve the empioyment of reattor Ashiey Franchini of Soiei|
Sotheby’s international Reaity nunc pro tunc to February t8, 2019 upon the terms and
conditions stated herein and in the proposed listing agreement attached to this
App|ication;

b. Approve the iisting agreement for the sale of the Reai Property
through September 30, 2019 with an initial listing price of $649,000.00 pursuant to the
terms and conditions set forth herein; and

o. For such other relief as the Court deems just and proper.

t i-|EREBY CERTIFY that a true and correct copy of the foregoing has been
furnished by regular U.S. iVlaii to the parties iisted beiow in the manner indicated, on this
the 21st day of i:ei:)ruary1 2019.

By: Ls/ Chad S. Paiva. Trustee
Chad S. Paiva, Trustee
525 Okeechobee Bouievard,
Suite #900
West Paln"r Beach Fi. 33401
Teiephone: (561) 227~2370
Emaii: trustee@grniaw.oorn

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Via ECFICN|:

- Kenia L N|oiina krnoiina@tiwiaw.corn, kenia@keniarnoiina.com
~ Otfice of the US Trustee L}STF’RegionZ‘i.i\/iNi.ECF@usdoi.gov

Via Reguiar Maii:

Niichaei A Pagano, Debtor
3209 North East 10 St #4
Pompano Beachl FL 33062

Patrick Butier

BK Gtobai Reai Estate Services
1095 Broken Sound Parkway, N.W.
Suite 100

Boca Raton, FL 33487

Ashiey Franchini, Reaitor

Soleii Sotheby‘s internationai Reaity
8502 Ventnor Avenue

Margate City, Fi_ 08402

ALL CREDLTORS AND lNTERESTED PART|ES LiSTED ON THE COURT MA|L|NG
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WCHAEL A. FAGANO

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referred to as the Gx'ant,ee.

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ij No property tax identification numberia svatlabie on the date uft.htu Deed. (Gho¢.»kbm¢ if upp!i¢¢bla.)

3. Property. TheP‘mpex~i:y consists of the land and all the buildings and ah'uehrres on the land in
the Clty of lhwca Gity
Count,y of Atlantk: _and State of Nerw Jersey. The tegal description ia:

l'f| Piea.se sen attached Legat Descn’ptlon annexed hereto and made a part hereof. (Chack box if application

 

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L§GAL D§CM E’I`ION

A.LL THAT CERTAIN lot, tract cr parcel of land and premises situate, lying and being in the
City of Margete, County of Atlantic and State of Ncw Jersey; bounded and described as fo!lows:
BEGINNING at tile intersection of the East line of Scusi<ic Ceerc (wicizh varies) and the division
line between Lots 77 and l in Block 610.01 as shown on the Margate City Tax Map and
extending §.'om said BEGINNING point; thenee:

l) North 68 degrees 05 minutes 23.8 seconds West, in and along said line a distance cf
149.654 feet to a point; thence

2) North 25 degrees 33 minutes 58 seconds East, a distance of 19.652 feet to a point; thence
3) Ncrth 66 degrees 30 minutes 00 seconds East, a distance of 94.62 feet to a point; thence

4) South 26 degrees 57 minutes 27 .4 seconds East, a distance cf 74.014 feet to a point;
thence

5) South 68 degrees 05 minutes 23.8 seconds East, a distance of 19.253 feet to a point in the
aforesaid East line of Seaside Court; thence

6) In a Scutherly direction and carving tc the right along the arc of a circle having a radius
of50.00 feet, an arc distance of 40.00 feet to the point end place of BEGINNING.

TOGETHER WZ'I'H a 13.00 feet wide drainage easement along the aforesaid division line
between Lots 77 and l in Block 610.01. Said easements Ncrtherly line being 10.00 feet North of
said division line.

KNOWN AS Lot 77 in Block 610.0! on the '!`ax Map of the City of Margate.
BEING the same premises which became vested in Jcseph R. Pagano and Michael Anthcny

Pagano, as Joint Tcnants, by deed from }oseph R. Pagano dated September 23, 2002 and
recorded November 7, 2002 as Instrument #2101522 in the A'!`LAN'I`IC County Clerk’s Officc.

 

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The street address of the Property ie: '
31 Seallda Ct., Marga!s, NJ

4. T,ype efDeed. This Deed is ce¥led a Quit.c£afm!)eed. The Grent¢rmnkea no promises as to ownership ortit£e, but
simphrtrans§ers whatever interest the Grenter has to use Gran£ee.

5. Sl¢nature¢. The Grantor signs this I)eed as of the date at the top of the fast page If the Grentor is a
corporation, this Deed is signed and attested to by its proper corporate o|!‘:cers and its corporate seal is affixed
(Print mabelmVeBch eignatxxre).

 

 

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S’I‘ATE OF NEW JERSEY, COUNTY OF ATLANT{C SS:
I CERTIF'Y that nn Jamaary M 2003
JOSEPH R. FAGANU

personally came before'me and stated to my satisfaction that this person (m~ it’more than une, each porscm):
(e)v'ms E\emaker oftbis Beed;
(b) executed this Deecl as his ar her own ect; end,

(c) made this Deed for$ 1110 aa the full and schlei consideration paid or to be paid for the
transfer of title (Buch consideration is defined in _!M§A, 46:15»5.)

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STATE GF NEW JERSEY, COUNTY {)F‘
I CERTIFYthat.on

  

 

 

personally came before run and stated to my satisfaction that this person (er ifmnre than one, each pemn):
(a.) was the maker of the attached Deed;
(b) was authorized w and did execute this Deed as

of the entity named inéhie Deed;

(c) made this Deed for $ 1-00 as the full and actual consideration pan or to be pald for the
transfer of title. (Such eoneideration is defined In gm 46:15-5.); and
(d) executed this need as the act of the entity.

 

       
     
 
 

 

 

 

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UNITED STATES BANKRUP'I`CY COURT
SOUTHERN DISTRICT OF FLORIDA

In re: Case No. 18-24646

Chapter 7
Michael Pagano

]}ebtors /

 

AFFIDAVIT OF ASHLEY FRANCHINI IN SUPPORT OF APPLICATION
'I`() RETAIN BK GLOBAL REAL ESTA'I`E SERVICES AND SOLEIL
SOTHEBYS INTERNATIONAL REAL'I`Y ’I`O PROCURE CONSENTED
PUBLIC SALE PURSUANT TO ll U.S.C. 5 327, 328 AND 330

STATE OF NEW IERSEY )
)
COUNTY OF Atlantic )

Ashley Franchini, being duly sworn, says:
1. I am a real estate agent duly licensed by the State of New Jersey.

2. l am an agent of Solcil Sothebys Intcrnational Realty a New Jersey
Corporation, With corporate offices located at 8502 Ventnor Ave Margate City, N.`I 08402

(“Listing Agcnt”).

3.1 am familiar with the Application to Retain Solcil Sothebys
International Realty, filed by the Trustee (“Application”) and the plopeny described
therein

4. 1 believe that lam experienced and qualified to represent the Trustee
in connection with the marketing and sale of the real property located at 31 SEASIDE CT
MARGATE, NJ 08402 (the “Property”).

5. Soleil Sothebys Intcrnational Rcalty has agreed to accept
employment pursuant to the terms and conditions set forth in the Application and the
proposed commission s£mcturc. Based upon my experience and knowledge of the real
estate market, I believe that the commission strucnn'o proposed to bc paid to listing Agcnt
does not exceed customary commissions in the applicable geographical area and are
reasonable for the type of employment proposed

EXH\B|T-

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6. Neither I nor any member of Soieil Sothebys International Realty
hold or represent any interest adverse to the estate With respect to the matters for which we
are to be employed and We are disinterested persons within the meaning of ll U.S.C. §
101(14}, as required by § 327(a).

7. To the best of my information and belief, neither l nor the other
members of this finn have any connection with the Debtors, their creditors, or any other
party in interest or their respective attorneys or accountants, the U. S. Trustee, or any person
employed in the office of the U.S. 'i`rustee, as required by Rule 2014 of the l:"`edel“al Rules
of Banl<ruptcy procedure except as set forth below.

8. l represent no interest adverse to the Debtors or its estate in the

matters upon which I arn to be engaged
wm iran cla/vi

Ashley FrancHini of

FURTHER AFPIANT SAYETH NAUGH'I`.

 

Soleil Sothebys Intemational Reafty

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The foregoing instrument Was sworn to and subscribed before me this §‘ day of

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NOTARY PUBLIC
/." §§ KKr/'é’,€/</‘/

No ary Public, State ofNew
Jersey '

 

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My Commission Expiree 11-15~2023

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$ELUER._ Chad Paiva, BK Trustee for estate eil\m'ciidel B"agano

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ADDENDUN| TO SEPARATE LlS'leG AGREEMENTS BETWEEN T|~'EE
CHATPER 7 TRUSTEE, CHAD S. PAIVA, AND BOTH BK GLOBAL AND
SOLE|L SOTHEBY’S tNTERNA`i`lONAL. REALTY FOR SALE OF REAL
PROPERTY LOCATED AT 31 SEAS|DE COURT, MARGATE, NEW
JERSEY (“REAL PROPERTY”)

1. Retention of the Exc!usive Broker, BK Globa|, and Locai Listing Agent,
Soleit Sottreby’s international Reaity, and the listing agreement executed by the Trustee
With both entities is subject to bankruptcy court approval

2. Except for warranty of title and as set forth in paragraph 3 below, the sa!e
of the Reai Property is “as is", “where is", and without warranty or representation either
express or implied

3. 't'he sale is contingent upon the Debtor’s non-debtor spouse, Janet
Pagano, executing any documents of transfer as may be required under New Jersey
!aw;

4. This is a short sale. According|y, any sale for the contract of the Reat
Property is contingent upon the approval of the mortgage lender, Mr. Cooper f/k/a
Nationstar l\/lortgage and the Trustee’s acceptance of the carve out for the bankruptcy
estate offered by Mr. Coopet.

5. The Trustee’s acceptance of safe is contingent upon Nlr. Cooper agreeing
to the 6% real estate commission and alt costs of closingl and release of its mortgage
and any deficiency claim against the bankruptcy estate

6. The sale of the Reai Property pursuant to any contract for sale approved
by Nlr. Cooper is contingent upon bankruptcy court approval after notice to alt creditors

7. The Trustee has the absolute right to abandon the Reai Property and
cancet the listing agreements With Bk G|obai and So|eit Sotheby’s internationat Realty at

any time.

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8. The Trustee, Chad S. Paiva, is not executing either the iisting agreement
With BK Giobai or the Eisting agreement with So|eil Sotheby’s lnternationat Realty in his
individual capacity, but solely as Bankruptcy Trustee of the l\/lichael Pagano bankruptcy
estate, BK Gioba| nor So!eil Sotheby’s international Realty sha!i have any right or ciaim
against the Trustee or bankruptcy estate for payment of any fees or costs should there
be no safe of the Reai Property for any reascn, and BK G!obal’s and Soiei| Sotheby’s
lnternationai Reaity’s sole recourse for payment of real estate commission, fees and
expenses shail be from the agreed upon surcharge to be paid by !Vir. Cooper at the
closing of the Bankruptcy Court approved contract for sale of the Reai Property.

9. This document may be signed in counterparts

 

gate: 2/19/2019 .»4'¢1..&;3 :F'em¢,l~m~

By: Aslhtey Franchini, Soieit Sotheby’s international Reaity

Date: _M§j {:4;%/»¢~…_

By: Patrici< Buti'er, BK Giobai

Date: taxi i_\i `;\C\
By: Chad Paiva, Trustee' rn Bankruptoy for t\!iichaei Pagano

 

 

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Label Matrix for local noticing
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Case 18-24646*001¥

Southern Diltrict of Florida
Fort Lauderdaie

tied Feb 20 11:21:16 EST 2019

Aurora Loan Services LLC
10359 park !teado\l Drive
Suite 200

lone tree CO 80124

Capil:al Bank USA NA
FO Box 30281
Salt lake city UT 84130-0281

li'last.er Greenberg
1810 chapel ave
West Cherry H:i.ll NJ 08002-4618

Hercantile Adjustments bureau LLC
265 lawrence Beli Drive South Suite
100

Willaimaville NY 14221~7900

New Penn Financial B/B.Hl Shell
point Mortgage Servicing

15 Beatie place

greensv'rlie SC 29601-2155

Port Rnyale Apts
3300 Port Royale Drive
Fort Lauderdale FL 33308-1919

ltildwooci Glass Company
2505 lieu Jersey Ave
Rorth tlildirood NJ 08250-2557

Nationstar l»iortgage LLC dib/a Mr. Cooper
cfc Frenkel Lambert et al

One East Broward Blvd., Suite 1430

Fort Lauderdale, PL 33301»18¢4

¢p)wm or mem
so sox 982238
EL FASO TX 79998“~2238

Credit First
PO Box 81315
Cleveland 05 4418_1-0315

Google Inc
1600 Amphithsate: Parkway
Hountain view Ck 96043-1351

Hidland funding LLC
PO Box 2001
Warren HI 48090-2001

Office of the US Trustee
51 S.tl. let Ave.

Suite 1204

Miami, FL 33130-161€

SYNCB/Care Credil:
PO 801 965035
Orlando FL 32096-5036

Chad S. Paiva

trustee@gmlav . com n

525 Okeechobe_e Blvd., 'Suite 900
west sam aeach, rr 33401-6305

Action Supply Inc
m3 Stagecoach Rd
Oeean Vie\¢ NJ 08230-1305

Bank Of New York
225 Liberty St.reet
lt‘l NY 19285-0001

Credit Gne Banlr
PO Box 988'!2
Las Vegas tlv 89193*8812

Margate Water md Sewer Utilit.y
9001 Hinchester Ave
Harqate NJ 08402-1239

Nationstar mortgage LLC
Pu Box 650783
Dallas Texas. 75265-0183

Pioneer credit recovery Inc
26 Edward Street
Arcacte NY 14009-1012

T:ystone Capital LLC
1814 Harlton Pike East ii
Cherry iIill NJ 08003~2039

ttichael A Pagano
3209 ltorth Bast 10 St iit
Pompano Beac}\, E‘L 33062-3930

the preferred mailing address lp) wave has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 (gl it}.

Bank 02 llraerica NA
PO Box 982238
EI Paso TX 79998

Bnci of Label Hatrix

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